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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division



 DEVIN G. NUNES,

                         Plaintiff,

        vs.                                        Civil No.: 3:19-CV-00889

 CABLE NEWS NETWORK, INC.,

                         Defendant.


  ORDER GRANTING CONSENT MOTION TO EXTEND DEADLINE TO RESPOND

       Defendant Cable News Network, Inc. (“CNN”) filed a motion to extend its deadline to

respond to Plaintiff’s Complaint (Dkt. No. 1) to January 17, 2020. Plaintiff consented to the

motion. Accordingly,

       IT IS HEREBY ORDERED that the consent motion to extend time to file responsive

pleading is hereby GRANTED. Defendant shall have until January 17, 2020 to respond to

Plaintiff’s Complaint.



       IT IS SO ORDERED.



Entered this ___ day of December, 2019.



                                                         __________________________

                                                         Hon. Robert E. Payne
                                                         United States District Court Judge
